 

Case 8:O7-CV-01073-DOC-|\/k|;f§T %%ESEHBJ[,<}§ A|§|BWHW§§E§>&Q€ 1 of 6 Page |D #:2746

 

 

 

 

ease Number SA cv07-1073 DOC(MLGX) Judge DAVID 0. CARTE;§.v
sTRIKEPoINT TRADING LLc, ET. AL., -v- §
Ti"° AIMEE ELIZABETH sABoLYK, ET. AL.,
Dates of 3-10-09; 3-1 1-09; 3-12-09; 3-13-09
Trial

 

 

Court Reporters Donald Hilland; Debbie Gale; Jane Sutton Rule;

Maria Dellaneve

 

Deputy Clerks Kristee Hopkins

@tto/{eg(fj for Plaintiff(s)
Lawrence Hilton w //\\l\»\: /_` Douglas Thorpe
Jenmfer Sun / / S("` Jeffrey Sklar {/_.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

William Halle /y/ Timothy McCaH:rey "// 7 _/\
`l// " V [, \
Plaintiff(s) Defendant(s) 0
Ex_ No' Id. Ev_ Ex_ No_ Id_ Ev EXHIBIT DESCRIPTION / WITNESS f Called By
James Burgess: 3-10-09 Plaintiffs
Michael Armbruster: 3-10-09; 3-11-09 Plaintif`fs
Nicholas Fazio: 3-] 1-09 Plaintiffs
Dan Pitre: 3-11-09; 3-12-09 Plaintiffs
Erik Gebhard: 3-11-09 Plaintiffs
Aimee Sabolyk: 3-11-09; 3-12-09 Plaintiffs
John Mondragon: 3-12-09 Plaintiffs
Dennis Anderson: 3-12-09 (by video deposition) Defendants
Christopher Woods: 3-12~09 (by video deposition) Defendants
Michael Kessler: 3-12-09 (by video deposition) Defendants
John Kendall: 3-12-09 (by video deposition) Defendants
Glenn Swanson: 3-13-09 Defendants
Christopher Money: 3-13-09 Plaintiffs
William Ackerman: 3-13-09 Defendants

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

G-65 (10/97) LIST OF EXHIBITS AND WITNESSES

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Joint Defendant(s)
EXHlBIT DESCRIPTION / WITNESS Called By

Ex. ld. Ev. Ex. No. Id. Ev

No.

21 3/10/09 3/10/09 Optioneer Trading Subscriber License Agreement

22 3/10/09 3/1 1/09 Email Messages (01/30/06) (Bates No. Conf`ldential CTK00521)

26 3/1 1/09 3/1 1/09 Sub Account Form Spreadsheet

29 3/ 1 1/09 3/ 1 1/09 Excel spreadsheet (Bates No. CONFIDENTIAL STK00356-TK00359)

30 3/10/09 3/10/09 Operating Agreement of StrikePoint

32 3/1 1/09 3/1 1/09 Aimee Sabolyk’s announcements for Daniels Trading

54 3/10/09 3/10/09 Fully Disclosed Clearing Agreement Between R.R. O’Brien & Associates, lnc.
and StrikePoint Trading, Inc., an Independent lntroducing Broker dated
November 5, 2004

55 3/10/09 3/10/09 Fully Disclosed Clearing Agreement Between R.R. O’Brien & Associates, Inc.
and StrikePoint Trading, Inc., an Independent lntroducing Broker dated Apri| 1,
2005

56 3/10/09 3/10/09 StrikePoint Policies and Procedures Manual, January 24, 2005

57 3/1 1/09 3/1 1/09 Sabolyk Acknowledgment or Receipt of Strikepoint “Employee Handbook”
dated February 10, 2005

58 3/10/09 3/10/09 Sabolyk Acknowledgment or Receipt of Strikepoint “Employee Handbook”
dated February 27, 2004

60 3/10/09 3/10/09 StrikePoint Policies and Procedures Manual, March 2007, with Sabolyk’s
signatures

65 3/12/09 3/12/09 Email to Sabolyk from Wood dated February 13, 2008 (Bates No. A800006)

74 3/1 1/09 3/1 1/09 Email to Sabolyk from Wood dated February 13, 2008 (Bates No. AS00021)

76 3/12/09 3/12/09 Email to Sabolyk from Wood dated February 20, 2008 (Bates No. AS00022)

85 3/12/09 3/12/09 Email to Sabolyk ii‘om Wood dated February 21, 2008 (Bates No. AS0041)

89 3/1 1/09 3/1 1/09 Email to Sabolyk from Flaherty dated September 1 1, 2007 (Bates No.
AS00047)

90 3/1 1/09 3/ 1 1/09 Email to Spencer from Sabolyk dated June 5, 2007 (Bates No. AS00049)

91 3/ 1 1/09 3/1 1/09 Email to Spencer from Sabolyk dated June 5, 2007 (Bates No. ASOOOSO)

95 3/1 1/09 3/1 1/09 Email to Sabolyk from Wendt dated June 21, 2007 (Bates No. AS00056)

99 3/ 1 1/09 3/12/09 Email to Smith to Sabolyk dated September 18, 2007 (Bates No. AS00061)

108 3/12/09 3/12/09 Email to Sabolyk from Spencer dated November 1 1, 2007 (Bates No.
ASOOO72)

109 3/12/09 3/12/09 Email to Sabolyk from Spencer dated November 13, 2007 (Bates No.
AS00073)

1 14 3/1 1/09 3/11/09 Email to Sabolyk from Lohmann dated October 4, 2007 (Bates AS00081)

1 18 3/1 1/09 3/1 1/09 Email to Sabolyk from Lohmann dated February 27, 2008 (Bates No.
AS00085)

138 3/1 1/09 3/ 1 1/09 Email from Dag from Sabolyk dated September 6, 2007 (Bates No.ASOOl 10)

165 3/1 1/09 3/1 1/09 Email to Sabolyk from Cable dated May 18, 2007 (Bates No. AS00148)

186 3/1 1/09 3/1 1/09 Email to Sabolyk from Kessler dated May 19, 2007 (Bates No. AS00189)

 

 

 

 

 

 

 

 

 

 

 

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EXHlBlT DESCRlPTION / WlTNESS Called By

Ex. Id. Ev. Ex. No. Id. Ev

No.

189 3/11/09 3/11/09 Emai1 to Kessler to Sabolyk dated May 17, 2007 (Bates No. AS00192)

190 3/1 1/09 3/1 1/09 Emai1 to Sabolyk from Kessler dated June 6, 2007 (Bates No. AS00193)

191 3/1 1/09 3/1 1/09 Emai1 to Kessler from Sabolyk dated June 5, 2007 (Bates No. AS00194)

192 3/1 1/09 3/ 1 1/09 Emai1 to Kessler from Sabolyk dated June 5, 2007 (Bates No. AS00195)

195 3/ 1 1/09 3/1 1/09 Emai1 to Kessler from Sabolyk dated June 4, 2007 (Bates No. AS00199)

196 3/1 1/09 3/1 1/09 Emai1 to Kessler from Sabolyk dated June 4, 2007 (Bates No. ASOOZOO)

198 3/ 1 1/09 3/1 1/09 Emai1 to Kessler from Sabolyk dated June 4, 2007 (Bates No. AS00202)

199 3/12/09 3/12/09 Emai1 to Kessler from Sabolyk dated June 1, 2007 (Bates No. A800203)

200 3/1 1/09 3/1 1/09 Emai1 to Kessler from Sabolyk dated June 1, 2007 (Bates No. AS00204)

201 3/1 1/09 3/ 1 1/09 Emai1 to Kessler from Sabolyk dated June 1, 2007 (Bates No. AS00205)

203 3/ 1 1/09 3/1 1/09 Emai1 to Kessler from Sabolyk dated June18, 2007 (Bates No. AS00207)

206 3/1 1/09 3/1 1/09 Emai1 to Kessler from Sabolyk dated June 19, 2007 (Bates AS00210)

212 3/12/09 3/12/09 Emai1 to Kessler from Sabolyk dated Ju1y 1 1, 2007 (Bates No. AS00218)

213 3/12/09 3/12/09 Emai1 to Sab01yk from Kessler dated Ju1y 1 1, 2007 (Bates No. A800219)

217 3/1 1/09 3/ 1 1/09 Emai1 to Kessler from Sabolyk dated Ju1y 2, 2007 (Bates No. AS00224)

222 3/1 1/09 3/1 1/09 Emai1 to Sabolyk from Kessler dated Ju1y 24, 2007 (Bates No. AS00231)

223 3/1 1/09 3/1 1/09 Emai1 to Kessler from Sabolyk dated Ju1y 23, 2007 (Bates No. ASOO232)

224 3/1 1/09 3/1 1/09 Emai1 to Sabolyk from Kessler dated Ju1y 22, 2007 (Bates No. AS00233)

231 3/12/09 3/12/09 Emai1 to Sabolyk from Kessler dated September 21, 2007 (Bates No. A800242)

322 3/10/09 3/10/09 Sabolyk Non-compete/Non-Disclosure Agreement with Altavest, February 24,
2004

323 3/10/09 3/10/09 Sabolyk Conf`ldentiality/Non-Disclosure Agreement with StrikePoint dated
March 16, 2006

383 3/12/09 3/12/09 Emai1 from Packard to Mondragon dated March 5, 2008 re CRM: Add Contact
Lead for Mondragon, John: David Tan

371 3/12/09 3/12/09 Emai1 from Mondragon to Stange dated February 1, 2009 re Account, with
attachment StrikePoint Customer Declaration

395 3/12/09 3/12/09 Emai1 from Kuhlemeier to Mondragon dated March 10, 2008 re Dennis
Anderson IRA

397 3/12/09 3/12/09 Emai1 from Kuhlemeier to Mondragon dated February 29, 2008 re eAccount
Open -- Dennis Anderson

409 3/12/09 3/12/09 Emai1 from Packard to Mondragon dated March 5, 2008 re CRM: Add Product
opts (by jmondragon) Lead for Mondragon, John: Duane Riddle

410 3/12/09 3/12/09 Emai1 fiom Packard to Mondragon dated March 5, 2008 re CRM: Add Product
opts (by jmondragon) Lead for Mondragon, John: Duane Riddle

41 1 3/12/09 3/12/09 Emai1 from Packard to Mondragon dated March 4, 2008 re CRM: Add Product
opts (by jmondragon) Lead for Mondragon, John: Duane Riddle

432 3/12/09 3/12/09 Emai1 from Packard to Mondragon dated February 1, 2008 re CRM: Add
Product opts (by jmondragon) Lead for Mondragon, John: Greg Fasiang

 

 

 

 

 

 

 

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No.

439 3/12/09 3/12/09 Emai1 from Packard to Mondragon dated March 3, 2008 re CRM: Add Contact
Lead for Mondragon, John: James Meyer

451 3/12/09 3/12/09 Emai1 from Packard to Mondragon dated March 18, 2008 re CRM: Add
Product opts (byjmondragon) Lead for Mondragon, John: John Macdonald

461 3/12/09 3/12/09 Emai1 from Packard to Mondragon dated March 4, 2008 re CRM: Add Product
opts (byjmondragon) Lead for Mondragon, John: Martin Clarke

464 3/12/09 3/12/09 Emai1 from Packard to Mondragon dated February l, 2008 re CRM: Add
Product opts (by jmondragon) Lead for Mondragon, John: Martin Clarke

465 3/12/09 3/12/09 Emai1 Mondragon to Clarke dated February 1, 2008 re: Account with Customer
Declaration attachment

474 3/12/09 3/12/09 Emai1 from Khmar to Mondragon dated March 23, 2008

475 3/12/09 3/12/09 Emai1 from Packard to Mondragon dated March 5, 2008 re CRM: Add Product
opts (byjmondragon) Lead for Mondragon, John: Pramil Kumar

482 3/12/09 3/12/09 Emai1 Mondragon to Packard dated June 3, 2008 with attachment Copy of New
Accounts - Mondragon.xls

488 3/12/09 3/12/09 Emai1 Mondragon to Packard dated March 18, 2008 with attachment Copy of
New Accounts - Mondragon.xls

505 3/12/09 3/12/09 Emai1 from Packard to Mondragon dated January 25, 2008 re CRM: Add
Contact Lead for Mondragon, John: Charles Hu11

507 3/12/09 3/12/09 Emai1 from Packard to Mondragon dated January 25, 2008 re CRM: Add
Contact Lead for Mondragon, John: Dave Stange

508 3/12/09 3/12/09 Emai1 from Packard to Mondragon dated January 24, 2008 re CRM: Add
Contact Lead for Mondragon, John: Dennis Anderson

555 3/1 1/09 3/1 1/09 Broker Agreement between Aimee Sabolyk and GAA

557 3/10/09 3/10/09 Optioneer’s Webside Agreement, including Terms & Conditions of Use

558 3/1 1/09 3/1 1/09 StrikePoint Trading, LLC Marketing Expenses 2007-2008

603 3/1 1/09 3/1 1/09 Emai1 from Michael Kessler to Aimee Sabolyk dated October 9, 2008, in which
he references his “catastrophic losses”

625 3/13/09 3/13/09 Letter from J. DeCarlo to G. Swanson dated November 1, 2007, Bates stamped
10009-10011

626 3/13/09 3/13/09 Letter from G. Swanson to J. DeCarlo dated November 7, 2007, Bates stamped
10012

627 3/12/09 3/12/09 John Mondragon’s AT&T Mobility bi11s, 12/1/2007 through 5/31/2008

629 3/1 1/09 3/1 1/09 Emai1 ii'om Sabolyk to ken@danielstrading.com dated Ju1y 23, 2007 re
Book2.xls.

633 3/1 1/09 3/ 1 1/09 Letter from W. Gerlesits to E. Gebhard dated August 2, 2006 re 06-CEXM-410,
NFA ID# 277488, Bates stamped STK01005

634 3/ 1 1/09 3/ 1 1/09 Letter from J. DeCarlo to E. Gebhard dated June 20, 2006 re 06-CEXM-409,
NFA ID# 342317, Bates stamped STK01006-01007

635 3/1 1/09 3/1 1/09 Computer hard drive, Bates stamped STK00789

641 3/12/09 3/12/09 StrikePoint Trading Employee Acknowledgment Form, signed by John
Mondragon dated March 15, 2006, Bates stamped CONFIDENT[AL
STK00392

 

 

 

 

 

 

 

 

 

 

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Ex. ld. Ev. Ex. No. ld. Ev

No.

643 3/10/00 3/10/09 Mondragon Conf`\dentiality/Non-Disclosure Agreement with StrikePoint dated
March 16, 2006

644 3/1 1/09 3/1 1/09 Emai1 from Sabolyk to John Kendall dated June 28, 2007 re Open Account

645 3/12/09 3/12/09 Emai1 from Sabolyk to Tim Smith dated September 26, 2007 re Account Open

646 3/1 1/09 3/1 1/09 Emai1 from Sabolyk to Virginia Lohmann dated October 3, 2007 re Account
Open

647 3/1 1/09 3/1 1/09 Emai1 from Sabolyk to Dan Flaherty dated November 2, 2007 re New Account
Open

648 3/1 1/09 3/1 1/09 Emai1 from Sabolyk to Fred Lohmann dated December 7, 2007 re lRA Open
Account

653 3/1 1/09 3/1 1/09 Posting dated June 4, 2007 by Michael Kessler in www.alliedpilots.org form
referencing “lnteresting Optioneer happenings today”

655 3/12/09 3/12/09 Summary of Properties for Exhibit 29

703A 3/12/09 3/12/09 Schedule from Money Expert Report (12/08)

742 3/10/09 3/13/09 CFTC Order instituting Proceedings pursuant to Sections 6 and 6(d) of the
Commodity Exchange Act, Making Findings Imposing Remedial Sanctions

743A 3/1 1/09 3/12/09 Schedule from Money Supplemental Expert Report (12/09)

746 3/13/09 3/13/09 Emails between John Kendall and Aimee Sabolyk dated Ju1y 21, 2007

748 3/10/09 3/10/09 Historical Optioneer Website Testimonials

749 3/10/09 3/10/09 Current Optioneer Website Testimonials

751 3/10/09 3/10/09 Michael Kessler’s Optioneer Marketing Material Booklet

753 3/12/09 3/12/09 Timothy Smith’s Signed Statement

754 3/12/09 3/12/09 John Kendall’s Signed Statement

755 3/12/09 3/12/09 Virginia Lohmann’s Signed Statement

756 3/12/09 3/12/09 Stephen Spencer’s Signed Statement

757 3/12/09 3/12/09 James Spencer’s Signed Statement

758 3/12/09 3/12/09 Michael Kessler Signed Statement

783 3/12/09 3/12/09 STK 00299 (see also STK 337 & 347) Sabolyk Employee Waming Notice

784 3/12/09 3/12/09 STK 00300-301 (see also STK 338-339, 348-349) Sabolyk Waming Notice
8/10/04

795 3/12/09 3/12/09 STK 00360-366 Sabolyk’s Clients on Grid

851 3/12/09 3/12/09 Declaration ofjohn Matthew Mondragon in Support of Defendants’ Motion for
Summary Judgment or, in the Altemative, Partial Summary Judgment (with/
attachments)

855 3/1 1/09 3/1 1/09 StrikePoint List of Open and Closed Clients (Exhibit 903 to Money Deposition)

857 3/10/09 3/1 1/09 Report describing commissions in 4-column format (Exhibit 904 to Money
Deposition)

858 3/10/09 3/1 1/09 Report describing gross commissions and trading volume (Exhibit 905 to
Money Deposition)

859 3/10/09 3/ 1 1/09 Clearing Cost Analysis for Nov. 2007 through Oct. 2008 (Exhibit 906 to
Money Deposition)

 

 

 

 

 

 

 

 

 

 

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EXHlBlT DESCR|PTION / WITNESS Called By
Ex. Id. Ev. Ex. No. ld. Ev
No.
861 3/10/09 3/1 1/09 Equity and commissions report (Exhibit 907 to Money Deposition)
863 3/13/09 3/13/09 One-page document relating to commissions earned in 2008
950 3/ 1 1/09 3/1 1/09 Optioneer website
951 3/ 1 1/09 3/1 1/09 Optioneer website links
952 3/12/09 3/12/09 Quarterly Performance Review of Sabolyk
953 3/12/09 3/12/09 Money Expert Report, Schedule 2A
954 3/12/09 3/12/09 Money Expert Report, Schedule 2B
955 3/12/09 3/12/09 Money Expert Report, Schedule 2C
956 3/12/09 3/12/09 Affirmative Damage Calculation
957 3/12/09 3/12/09 Highlighted Dated, Schedules 3A-3C
960A 3/13/09 3/13/09 Declaration of Glenn Swanson dated 1/6/09
960B 3/13/09 3/13/09 Total Account Equity Chart
961 3/13/09 3/13/09 Damages Claimed, Paxtial Attrition
962 3/13/09 3/13/09 Damages Claimed, Full Attrition
963 3/13/09 3/13/09 Damages Claimed, Enrichment
964 3/13/09 3/13/09 StrikePoint Client Attrition as of 1/9/09

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

G-65a (10/97) LIST OF EXHIBITS AND WITNESSES - CONTINUED q

